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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

USA                                       §
                                          §
vs.                                       §    NO:
                                          §    SA:20-CR-00387(2,3,4,5,6,8,9,10,1
(2) Francisco Garza                       §    1,13,14,15,16,18)-DAE
(3) Jose Angel Villarreal                 §
(4) Frank Zepeda                          §
(5) Jose Tabares                          §
(6) Matthew Villa                         §
(8) Jacqueline Alvarez                    §
(9) Rodger Hernandez                      §
(10) Jay Haggard                          §
(11) Gary Piercefield                     §
(13) David Gomez                          §
(14) Asdrubal Tovar-Mendez                §
(15) Anthony Arellano                     §
(16) Oscar Heredia                        §
(18) Jacob Sanchez                        §

                 ORDER CONTINUING TRIAL DATE
         AND EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
      On October 14, 2021 the Court granted the unopposed motion for
continuance filed by co-defendant, (7) Michelle Zamarripa. There being no
severance granted in this cause of action, the Court finds that these defendants
shall proceed to trial with his/her co-defendants.
      IT IS THEREFORE ORDERED THAT trial of this case, currently set for
Monday, November 8, 2021, be and hereby is continued.
      The deadline for notifying the court of any plea agreement entered
      into by the parties in this cause is Friday, January 21, 2022 . No
      plea agreement entered into after that date shall be honored by this
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      Court without good cause shown for the delay.

      Should a plea agreement be reached and filed in this case absent
      written objection filed contemporaneously therewith, this case will
      be referred to a United States Magistrate Judge for the purpose of
      administering the plea of guilty and the Fed. R. Crim. P. 11
      allocution, subject to final approval and the imposition of sentence
      by the United States District Court.

     Jury selection and trial are reset for February 07, 2022 at 09:30
     AM in Courtroom F of the United States Courthouse, 214 W. Nueva
     St., San Antonio, Texas. All pretrial motions, including motions in
     limine, are due January 25, 2022, responses due January 27, 2022.
     No pretrial motions will be accepted by the court after said deadlines,
     without showing good cause for the delay.

     The Court finds that the period between November 8, 2021, and
February 07, 2022, is a reasonable period of necessary delay to allow
counsel to negotiate a plea; and/or to review discovery and the record to
date, and to prepare for trial. The Court finds that the interest of justice
served by taking such action outweighs the best interest of the public and
the defendant in a speedy trial, and further finds that such period shall be
excluded from the time within which the defendant must be brought to trial
under the Speedy Trial Act pursuant to 18, United States Code, Section
3161(h)(7).


Pretrial Submissions
         The Court ORDERS all parties to serve and file the following
information by the close of business Monday, January 31, 2022:
         (1) A list of questions the party desires the court to ask prospective
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jurors.
           (2) A list of stipulated facts.
           (3) An appropriate identification of each exhibit as specified in this rule
(except those to be used for impeachment only), separately identifying those that
the party expects to offer and those that the party may offer if the need arises.
           (4) The name and, if not previously provided, the address and telephone
number of each witness (except those to be used for impeachment only),
separately identifying those whom the party expects to present and those whom
the party may call if the need arises.
           (5) The name of those witnesses whose testimony is expected to be
presented by means of a deposition and designation by reference to page and line
of the testimony to be offered (except those to be used for impeachment only) and,
if not taken stenographically, a transcript of the pertinent portions of the
deposition testimony.
           (6) Proposed jury instructions and verdict forms.         The parties are
ORDERED to meet and confer and submit a joint proposed set of jury
instructions. Any jury instructions to which both parties do not agree must be
submitted separately with appropriate citations to the law supporting those
instructions. Joint jury instructions shall be submitted in complete format as they
would appear when submitted to the jury. The joint jury instructions shall also be
emailed in a Word document to Priscilla Springs, Courtroom Deputy at
Priscilla_Springs@txwd.uscourts.gov.
           (7) An estimate of the probable length of trial.
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Objections to Pretrial Submissions
         The Court also ORDERS both parties to serve and file the following
information by close of business on Wednesday, February 02, 2022:
         (1) A list disclosing any objections to the use under Rule 32(a) of
deposition testimony designated by the other party.
(2) A list disclosing any objection, together with the grounds therefore, that may
be made to the admissibility of any exhibits. Objections not so disclosed, other
than objections under Federal Rules of Evidence 402 and 403 shall be deemed
waived unless excused by the court for good cause shown.
      IT IS SO ORDERED.
      DATED: San Antonio, Texas, October 14, 2021.




                                           ______________________________
                                           DAVID A. EZRA
                                           SENIOR U.S. DISTRICT JUDGE
